                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                   CRIMINAL DOCKET NO. 5:14-CR-72-RLV-DSC


 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                                                 )                     ORDER
 v.                                              )
                                                 )
 JUAN PABLO DIAZ-HERRERA,                        )
                                                 )
                  Defendant.                     )



        THIS MATTER is before the Court on the Defendant’s “Motion for Inquiry into Status

of Counsel” (document # 178) filed July 8, 2015. The Court held a hearing in this matter on July

14, 2015. A portion of the hearing was conducted ex parte.

         E. James Chandler II, appointed counsel for Defendant, represented that Defendant is

unwilling to consider a favorable plea offer from the Government. He also represented that his

relationship with Defendant has deteriorated to the point that they cannot work together on a trial

strategy.

        The Court acknowledged the serious nature of the charges and penalties that Defendant

faces, but advised him that appointment of new counsel would not change those circumstances or

result in a more favorable plea offer. The Court also clarified the attorney-client relationship and

explained to Defendant that there are certain decisions that must be made by him such as whether

or not to accept a plea agreement or go to trial. The Court advised Defendant that his counsel must

decide what if any motions should be filed.


        Both Mr. Chandler and Defendant agree that there is a lack of trust between them.



      Case 5:14-cr-00072-KDB-SCR          Document 183        Filed 07/15/15      Page 1 of 2
       Based upon the foregoing, the Court relieves Mr. Chandler from further representation of

Defendant and directs the Federal Defender to appoint new counsel. The Clerk is directed to send

copies of this Order to counsel for the parties, including but not limited to moving counsel; and to

the Honorable Richard L. Voorhees.


       SO ORDERED.
                                      Signed: July 15, 2015




    Case 5:14-cr-00072-KDB-SCR            Document 183         Filed 07/15/15     Page 2 of 2
